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Form 1 Page: 1
Individual Estate Property Record and Report
Asset Cases
Case Number: 8:16-BK~09932 RCT Trustee: (290520) DAWN A. CARAPELLA
Case Name: HERNANDEZl DAVlD JUSTO Filed (f) or Converted (c): 11/21/16 (f)
HERNANDEZ, |RENE §341(3) lVleeting Date: 12/20/16
Period Ending: 09/12/18 Claims Bar Date: 04/07/17
1 2 3 4 5 6
Asset Description Petitionl Estimated Net Vaiue Property SaleIFunds Asset Fully
(Schedu|ed And Unscheduled (u) Property) Unscheduled (Value Determined By Trustee, _A_Qanggng_q_ Received by Administered (FA)I
Values Less Liens, Exemptions, 0A=§554(a) abandon. the Estate Gross Value of
Ref. # and Other Costs) Remaining Assets
1 1811 N. Riverhil|s Dr., Tampa, FL 33617-0000, Hi 179,000.00 0.00 22,500.00 FA
|mported from original petition Doc# 1 n _ *m_* __ " A*`r*¢ 7 *' `_ imv____ _m_h_
2 Cash 100.00 0.00 0.00 FA
|mported from original petition Doo# 1 f n j j iii* fm k _ j j viii w v _ ` 4_¢4 ¢_ d_ j j n`
3 Checking business account: Bank of America accou 190.00 0.00 0.00 FA
|mported from original petition Doo# 1 vi ii ¢_ § _*w j w__¢ n _’ _r `_`r *_ h`¢ ¢i*i v *_ j 17~ v_ __ `_ _~
4 checking: Bank of America, Checking, personal 105.00 0.00 0.00 FA
|mported from original petition Doc#1 w` *¢_WI"_`_"_ n ___ ` ‘_ ~_`VA_¢ ` _ ii j v `r j i* iii _ ___ '*¢ ` ¢___
5 All 8 years o|d. Living room: couch, 2 tables,, 1,300.00 0.00 0.00 FA
|mported from original petition Doo# 1 j __ j § _ _ _` _ ` j __ § j
6 copy machine 25.00 0.00 0.00 FA
M_ '"‘P°"_e_£*_ir?'_“_°§$‘."i't{€‘@¥‘,?£?€l_ _ iv . a _“_ _W<NW A, v , j ,,*,M,i,,, , a \ _~ -*' *, a , _ _ w `*, h*@
7 Leaving in house : Table w/6 chairs, cabinet, ch 1.000.00 1,000.00 0.00 FA
_ imported from original peti§on Doo# _1* ¢_ _v d vi j 4 j n
8 20 shirts, 7 pair pants, 4 pair shoes. suit, tie 100.00 0.00 0.00 FA
_ |mported fror_n original petition Doc# 1 _ __fmm vi iv k A j j __¢ _ ‘ `_i_ g
9 14 blouses. 10 pair pants, 8 pair shoes, 4 jacke 125.00 0.00 0.00 FA
|mported from original petition Doo# 1 _F i__ _
10 watchl ringl chain, meda| 200.00 0.00 0.00 FA
|mported from original petition Doquf 1 __ M_ ¢v_j

 

 

 

 

 

 

 

 

 

 

 

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FOl‘m 1 Page: 2
Individual Estate Property Record and Report
Asset Cases
Case Number: 8116-BK-09932 RCT Trustee: (290520) DAWN A. CARAPELLA
Case Name: HERNANDEZ, DAV|D JUSTO Filed (f) or Converted (c): 11/21/16 (f)
HERNANDEZ, |RENE §341(a) Meeting Date: 12/20/16
Period Ending: 09/12/18 Claims Bar Date: 04/07/17
1 2 3 4 5 6
Asset Description Petitionl Estimated Net Va|ue Property Sa|eIFunds Asset Fully
(Schedu|ed And Unscheduled (u) Property) Unscheduled (Value Determined By Trustee, _Ahan_qgngg_ Received by Administered (FA)I
Values Less Liens, Exemptions, 0A=§554(a) abandon. the Estate Gross Value of
Ref_ # and Other Costs) Remaining Assets
11 watch, 2 rings, earrings 200.00 200.00 0.00 FA
_ imported from original petition Doc# 1 __ _ ii` 7 W ‘7*¢_“¢*…¢*¢ i_ Aii\ ii_v¥*`* _`L
12 lnt. in lns. policies: Principa| Life Term $300, 0.00 0.00 0.00 FA
y , ,'_mPEr_tidl'_°_"‘_‘l'Yil"=¥!£§?ili£'!E?@" ,,i,~, ,,_ `,_ _ __ m. m , _ _W a a _ v , v,* w b w ,, , _ 4 ,_,,* *i,,, *
13 lnt. in lns. policies: Principa| Life $50.000 te 0.00 0.00 0.00 FA
__,,a_,"“_p¢£?§..f§’£‘_°iig_ila'_&?t,m£?__[’£§§i ,_e,~ ,,v,_, i` -v, _, , a g a ,_ a vi .,~ , , ` __ `c a j j *,,,, ,Wv_i.w,,,,*,,
14 David Hemandez Financia| Services |nc., 100% ow Unknown 0.00 OA 0.00 FA
_ |mported from original petition_lzoc#_i _` _ in v ¢¥m~ 7 ~_ wi *i a *4 _W~iv ii v *`_i j _~*‘ MA~
15 VO|D: DUPL|CATE OF ASSET 14 Unknown 0.00 0.00 FA
imported from original petition Doo# 1 ‘_ ___m__.__ ___ ___W __ iri*¢ki*
16 VO|D: DUPL|CATE OF ASSET 14 Unknown 0.00 0.00 FA
|mported from original petition Doc#¢‘l _M_` 7 ~ r__rw__ ___ ` j j
17 Freedom Debt Relief, possible refund from debts Unknown 0.00 0,00 FA
|mported from original petition Doo# 1 __Y 4 ii g
18 2005 Toyota Avalon, Car is in name of Corporatio 50.00 50.00 OA 0.00 FA
imported from original petition Doo# 1 ` ii ` __~ _ ~ j_ r___
19 ADV. 17-425 FDCPA CLA|M AGAlNST WELLS FARGO Unknown 3,000.00 3,450.00 FA
(u)
8/22/17 - Motion to Compromise (Dkt. 40) v _ fw r___ __ *¢ iii
20 ADV. 17-426 AGA|NST SUNTRUST (E)_ Unknown VA_ 3,000.00_ c _`__HWW* LS0.00 Fr v* j j §
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Form 1 Page: 3
Individual Estate Property Record and Report
Asset Cases
Case Number: 8:16-BK-09932 RCT ' Trustee: (290520) DAWN A. CARAPELLA
Case Name: HERNANDEZ, DAV|D JUSTO Filed (f) or Converted (c): 11/21/16 (f)
HERNANDEZl |RENE §341(a) Meeting Date: 12/20/16
Period Ending: 09/12/18 Claims Bar Date: 04/07/17
1 2 3 4 5 6
Asset Description Petitionl Estimated Net Value Property SalelFunds Asset Fully
(Scheduied And Unscheduled (u) Property) Unscheduled (Value Determlned By Trustee, _Ab_a_n_dg_ng_d_ Received by Administered (FA)I
Values Less Llens, Exemptions, 0A=§554(a) abandon. the Estate Gross Value of
Ref. # and Other Costs) Remaining Assets
21 ADV. 17'424 AGA|NST CAP|TAL ONE (u) Unknown 3.000.00 0.00 FA
6/27/18 - Agreed Final Order Dismissing Adv. 17-424
with prejudice (Adv. Dkt. 15)
21 Assets Totals (Excluding unknown values) $182,395.00 $10,250.00 $29,400.00 $0.00

 

Major Activities Affecting Case C|osing:
Waiting for approved worksheet

12/28/16 - T received offer to purchase surrendered real property subject to liens;

1/10/17 - App|ication to Emp|oy Counsel R. Dauval (Dkt. 11);

1/10/17 - lVlotion to Se|l surrendered real property subject to liens (Dkt. 12);

1/10/17 - Order approving Application to Employ Counsel R. Dauval (Dkt. 13);

1I17/17 - Order granting stay relief re: surrendered real property (Dkt. 15);

1/26/17 - Response with conditional consent to auction sale provided gets paid in full (Dkt. 20);
1/27/17 - Notice of Hearing scheduled for 2/21/17 @ 9:30 a.m. on Motion to Sell (Dkt. 22);
2I2/17 - Agreed Order Granting T's Motion to Se|l Real Property Subject to Liens (Dkt. 25);
2/7/17 - R. Dauval emai| to T that surrendered property sold at auction for $22.500;

217/17 - Emai| to T. Lash re: status of FDCPA claim;

2li 7l17 - R. Dauval received closing package; will forward to T;

2120/17 - T received closing package;

2121/17 - T deposited proceeds from sale of real property;

3/13/17 - Application to Emp|oy T. Lash for Specia| Purpose (Dkt. 29);

3/13/17 - Order approving App|ication to Employ T. Lash for Specia| Purpose (Dkt. 30); Cert. of Service (Dkt. 31)
3/23/17 - Trustee's Deed filed (Dkt. 23);

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Individual Estate Property Record and Report
Asset Cases
Case Number: 8:16-BK-09932 RCT Trustee: (290520) DAWN A. CARAPELLA
Case Name: HERNANDEZ, DAV|D JUSTO Filed (f) or Converted (c): 11/21/16 (f)
HERNANDEZ, |RENE §341(a) Meeting Date: 12/20/16
Period Ending: 09/12/18 Claims Bar Date: 04/07/17
1 2 3 4 5 6
Asset Description Petitionl Estimated Net Value Property SalelFunds Asset Fully
(Scheduled And Unscheduled (u) Property) Unscheduled (Value Determined By Trustee, _A_b_a_n§gngd_ Received by Administered (FA)I
Values Less Liens, Exemptions, 0A=§554(a) abandon. the Estate Gross Value of
Ref. # and Other Costs) Remaining Assets

 

 

 

 

 

 

4/8/17 - CLA|NlS REV|EWED; no objections necessary;

4/10/17 - T approved R. Dauval's draft fee application;

4/10/17 - R. Dauval's Fee Application (Dkt. 33);

5/11/17 - Order approving R. Dauval's Fee Application ( Dkt. 35);

5/18/17 - Adv. Pro. 17-425 commenced against We|ls Fargo;

5/18/17 - Adv. Pro. 17-426 filed against SunTrust Bank;

5/18/17 - Adv. pro. 17-424 filed against Capita| One bank;

5/26/17 - T paid R. Dauval per Order approving Fee Application;

6/9/17 - T filed Amended Notice of Sale of real property to included closing statement (Dkt. 37);

7/7/17 - Adv. Pro. 17-426 against SunTrust - Notice Schedu|ing Pre-Tria|l status Conference for August 1, 2017 at 10:30 a.m.;
7/19/17 - Adv. Pro. 17-425 against We|ls Fargo - Notice Schedu|ing Pre-Trial/status conference for Sept. 5. 2017 at 10:30 a.m.;
7/23/17 - T sent signed settlement agreement back to T. Lash Re: Adv. Pro. 17-425 against We|ls Fargo;
8/1/17 - MOT|ON FOR lNTER|M DlSTR|BUT|ON sent to UST for approva|;

8/1/17 - Adv. Pro. 17-424 against Cap One: Pre-trial held and continued to 10/24/17 @ 10:30 a.m.;

8/4/17 - T reviewed and approved fees and settlement with SunTrust;

8/7/17 - Motion to Compromise Adv. 17-426 against SunTrust Bank (Dkt. 38);

8/7/17 - interim Fee App re: Adv. 17-426 filed by T. Lash (Dkt. 39);

8/18/17 - T approved proposed settlement and fees re: Adv. ag. We|ls Fargo;

8/22/17 - lVlotion to Compromise Adv. 17-425 against We|ls Fargo (Dkt. 40);

8/22/17 - Fee Application of T. Lash (Dkt. 41);

8/22/17 - TRUSTEE'S MOT|ON TO AUTHOR|ZE |NTER|M DiSTRlBUTlONS (Dkt. 42);

8/22/17 - Notice of Motion for lnterim Distributions (Dkt. 43);

8/22/17 - Trustee's Application for lnterim Compensation (Dkt. 44);

8/22/17 - USTs statement of no objection to Motion for interim Distribution (Dkt. 45);

8/23/17 - T signed settlement agreement with SunTrust Bank re: Adv. Pro. 17-426 and returned to T. Lash;

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Form 1 Page: 5
Individual Estate Property Record and Report
Asset Cases

 

Case Number: 8116~BK-09932 RCT Trustee: (290520) DAWN A. CARAPELLA
Case Name: HERNANDEZ, DAV|D JUSTO Filed (f) or Converted (c): 11/21/16 (f)
HERNANDEZ, |RENE §341(a) Meeting Date: 12/20/16
Period Ending: 09/12/18 Claims Bar Date: 04/07/17
1 2 3 4 5 6
Asset Description Petitionl Estimated Net Value Property SaleIFunds Asset Fully
(Scheduied And Unscheduled (u) Property) Unscheduled (Value Determined By Trustee, _Ap_an_dgne_d__ Received by Administered (FA)I
Values Less Liens, Exemptions, 0A=§554(a) abandon. the Estate Gross Value of

Ref. # and Other Cosis) Remaining Assets

 

 

 

 

 

 

 

 

9/8/17 - Order Granting Motion to Approve Compromise of Adv. 17-426 (Dkt. 46);

9/8/17 ~ Order approving Fee application re: Adv. Pro. 17-426 (Dkt. 47);

9/25/17 - Order approving Fee Application re: Adv. Pro. 17-425 against We|ls Fargo (Dkt. 50);
9/25/17 - Order granting Motion to Compromise Adv. Pro. 17-425 ag. We|ls Fargo (Dkt. 51);
9/27/17 - Order granting Motion to Authorize interim Distributions (Dkt. 54);

9/27/17 - Cert. of Serv. on Order Granting interim Distribution (Dkt. 55)

9/29/17 - Order approving Application for Trustee's interim Compensation (Dkt. 56);

9/29/17 - Cert. of Serv. on Order Granting interim Distribution (Dkt. 57);

10/18/17 - lNTER|M DiSTR|BUT|ONS;

10/24/17 - T received net settlement funds from Adv. 17-425 and Adv. 17-426;

Adv. 17-424 against Cap One - Pre-Tria| continued to 12/12/17 @ 10:30 a.m.;

12/12/17 - Pre-triai held in Adv. 17-424; Pre-Triai continued to 02/20/18 at 2:00 p.m.;

2/20/18 - Pre-trial held in Adv. 17-424; Trial scheduled for 9/25/18 @ 10:00 a.m. (6 hrs. reserved);
6/23/18 - Emaii to T. Lash for status of negotiations re: Adv. 17-424;

6/25/18 - Response from T. Lash;

6/25/18 - Adv. 17-424 against Cap1: Joint Stipulation for Order Dismissing Adversary Proceeding (Adv. Dkt. 14);
6/27/18 - Adv. 17-424 against Cap 1: Agreed Final Order Dismissing Adversary Proceeding with prejudice (Adv. Dkt. 15);
7/8/18 - Notice of Abandonment of vehicle and David Hernandez Financia| Services. lnc. (Dkt. 59);
7/9/18 - Case Closed.

7/9/18 - Trustee's Fee Application (Dkt. 60)

8/20/18 - Notice of NFR and Cert. of Serv. (Dkt. 62)

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Form 1 Pagel 6
Individual Estate Property Record and Report
Asset Cases
Case Number: 8116-BK-09932 RCT Trustee: (290520) DAWN A. CARAPELLA
Case Name: HERNANDEZ, DAV|D JUSTO Filed (f) or Converted (c): 11/21/16 (f)
HERNANDEZ. |RENE §341(a) Meeting Date: 12/20/16
Period Ending: 09/12/18 Claims Bar Date: 04/07/17
1 2 3 4 5 6
Asset Description Petitionl Estimated Net Value Property SaleIFunds Asset Fully
(Scheduled And Unscheduled (u) Property) Unscheduled (Value Determlned By Trustee, _Agan_dg_g§_d_ Received by Administered (FA)/
Values Less Liens, Exemptions, 0A=§554(a) abandon. the Estate Gross Value of

Ref. #

 

 

and Other Costs)

 

 

 

Remaining Assets

 

initial Projected Date Of Final Report (TFR): December 20

.2017

Current Projected Date Of Final Report (TFR): Ju|y 9, 2018 (Actual)

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